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EXHIBIT 11
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From:                             Jackson, Benjamin (x2255)
Sent:                             Tuesday, February 20, 2018 6:04 PM
To:                               bryan.hales@kirkland.com; elizabeth.cutri@kirkland.com; dhoang@winston.com
Cc:                               Fischer, Aron (x2363); Quirk, Rob (x2204); 'inflixWS'; '#Hospira-Infliximab'
Subject:                          Janssen v. Celltrion: meet and confer re privilege clawbacks


Dear Bryan, Liz, and Dan,

We write concerning Celltrion’s recent assertions of privilege over portions of the documents listed in the attached letter
and over a portion of CELLREM-0374970, as stated at the hearing before Judge Wolf on February 16, 2018. Following a
review of these documents pursuant to paragraph 8 of the Protective Order, we disagree with Celltrion’s claims of
privilege over several of these documents. Further, the privilege log you produced on February 14, 2018 is deficient
because it (1) does not identify by name which Celltrion attorneys are associated with which document; (2) asserts work
product protection over every document on the log, including documents that were plainly not drafted by attorneys; and (3)
provides only vague descriptions of the subject of the “legal advice of counsel” contained in each document. Lastly, we
note that Celltrion has not yet confirmed in writing whether it intends to continue to assert privilege over a portion of
CELLREM-0374970.

Please let us know your availability for a telephonic meet and confer this Friday, February 23, 2018 to discuss the above
issues.

Best regards,
Ben

Benjamin F. Jackson
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